
*123OPINION.
Teammell:
If, in exchange for its capital stock in 1910, the petitioner acquired good will of a definite cash value, then there should be included in the computation of its invested capital such good will at a value not to exceed $20,300, representing 25 per cent of the par value of the capital stock outstanding on March 3, 1911.
If the petitioner acquired any good will for stock at the time of its organization, it could only have acquired it from Gamm and Potter. It is not contended that it acquired any good will from any other source. Gamm and Potter had been employed by the Stickney Foundry Co. for several years. They decided to leave the company and establish a business of their own. Accordingly, they entered into the contract with the Gas Traction Foundry Co. set forth in the findings of fact, and a new corporation was organized which issued stock to Gamm and Potter. The only thing transferred by Gamm and Potter to the corporation was, in fact, their services. No going concern or established business was conveyed to the petitioner. The. knowledge, experience, skill and acquaintanceship of Gamm and Potter, which the corporation received the benefit of by virtue of their connection with the company, was undoubtedly *124of great benefit to the corporation, but we have held that this does not constitute good will. In the Appeal of Providence Mill Supply Co., 2 B. T. A. 791, we said:
Ability, skill, experience, acquaintanceship, or other personal characteristics or qualifications do not constitute good will as an item of property; nor do they exist in such form that they could be the subject of transfer.
We are, therefore, of the opinion that the petitioner did not acquire for stock at the time of its organization good will of any value.

Judgment will 'be entered on 15 days' notice, u/nder Rule 50.

